                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                        )
                                                 )
                                                 )           No. 4:06-CR-6
 v.                                              )
                                                 )           Chief Judge Curtis L. Collier
                                                 )
 SANTOS SOLIS, JR.                               )
                                                 )


                                             ORDER

        Defendant Santos Solis, Jr. (“Defendant”) filed a motion to suppress statements made to

 federal agents on October 10, 2004 (Court File No. 104) and a motion to suppress statements

 obtained pursuant to a telephonic wiretap (Court File No. 105) which were referred to United States

 Magistrate Judge William B. Mitchell Carter to conduct an evidentiary hearing if necessary and

 make a report and recommendation pursuant to 28 U.S.C. § 636(b)(1)(B) and (C). On June 20,

 2006, the magistrate judge filed a report and recommendation that Defendant’s motions be denied

 (Court File No. 147). Neither party filed objections within the given ten days.

        After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. The Court thus ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation (Court File No. 147) pursuant to 28 U.S.C. § 636(b)(1)(C) and Defendant’s

 motions to suppress (Court File Nos. 104, 105) are hereby DENIED.




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     SO ORDERED.

     ENTER:


                                      /s/
                                      CURTIS L. COLLIER
                                      CHIEF UNITED STATES DISTRICT JUDGE




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